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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION
                              CRIMINAL ACTION NO. 3:20CR-86-BJB


UNITED STATES OF AMERICA,                                                       PLAINTIFF,

v.

KEITH B. HUNTER,                                                              DEFENDANT.

                                            ORDER

        Pursuant to the Due Process Protections Act, the Court confirms the United States’

obligation to produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland,

373 U.S. 83 (1963), and its progeny, and orders it to do so. Failing to do so in a timely manner

may result in consequences, including, but not limited to, exclusion of evidence, adverse jury

instructions, dismissal of charges, contempt proceedings, or sanctions by the Court.




           October 13, 2021




cc: Counsel of record
